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   1                          IN THE UNITED STATES DISTRICT COURT

   2                          IN AND FOR THE DISTRICT OF DELAWARE

   3                                          - - -
         ACORDA THERAPEUTICS, INC.,                   :
   4                                                  :    CIVIL ACTION
                        Plaintiff,                    :
   5     v                                            :
                                                      :    (Consolidated)
   6     ALKEM LABORATORIES LTD.,                     :
                                                      :    NO. 14-882-LPS
   7                    Defendant.                    :
                                              - - -
   8
                                       Wilmington, Delaware
   9                                Thursday, September 1, 2016
                                        Pretrial Conference
  10
                                              - - -
  11
         BEFORE:              HONORABLE LEONARD P. STARK, Chief Judge
  12
         APPEARANCES:                         - - -
  13

  14                    MORRIS NICHOLS ARSHT & TUNNELL, LLP
                        BY: MARYELLEN NORIEKA, ESQ.
  15
                              and
  16
                        KAYE SCHOLER, LLP
  17                    BY: AARON STIEFEL, ESQ.,
                             DANIEL DiNAPOLI, ESQ., and
  18                         SOUMITRA DEKA, ESQ.
                             (New York, New York)
  19
                                     Counsel for Plaintiffs Acorda
  20                                 Therapeutics, Inc., and Alkermes
                                     Pharma Ireland Limited
  21

  22

  23

  24                                                  Brian P. Gaffigan
                                                      Registered Merit Reporter
  25
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   1     APPEARANCES:     (Continued)

   2
                        PHILLIPS, GOLDMAN, McLAUGHLIN & HALL, P.A.
   3                    BY: JOHN C. PHILLIPS, JR., ESQ.

   4                          and

   5                    WINSTON & STRAWN, LLP
                        BY: CHARLES B. KLEIN, ESQ.
   6                         (Washington, District of Columbia)

   7                          and

   8                    WINSTON & STRAWN, LLP
                        BY: SAMUEL S. PARK, ESQ.
   9                         (Chicago, Illinois)

  10                          Counsel for Roxane Laboratories, Inc.,
                              Teva Pharmaceuticals USA, Inc., Apotex
  11                          Corp. and Apotex, Inc.

  12
                        MORRIS JAMES LLP
  13                    BY: MARY B. MATTERER, ESQ.

  14                          and

  15                    PARKER POE ADAMS & BERNSTEIN, LLP
                        BY: ROBERT L. FLORENCE, ESQ, and
  16                         KAREN L. CARROLL, ESQ.
                             (Atlanta, Georgia)
  17
                              Counsel for Mylan Pharmaceuticals Inc.
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  22                                       - oOo -

  23                                P R O C E E D I N G S

  24                    (REPORTER'S NOTE:     The following pretrial

  25     conference was held in open court, beginning at 2:00 p.m.)
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   1                    THE COURT:    Good afternoon.

   2                    (The attorneys respond, "Good afternoon, your

   3     Honor.")

   4                    THE COURT:    I'll have you put your appearances

   5     on the record for us, please.

   6                    MS. NOREIKA:    Thank you.    Good afternoon, Your

   7     Honor.     Maryellen Noreika from Morris Nichols for the

   8     plaintiffs, Alkem and Acorda.         And with me at counsel table

   9     for Acorda is Daniel DiNapoli and Aaron Stiefel from Kaye

  10     Scholer.    And in the row behind is Sam Deka, also from Kaye

  11     Scholer.

  12                    THE COURT:    Welcome to all of you.      Thank you.

  13                    MS. MATTERER:    Good afternoon, Your Honor.

  14                    THE COURT:    Good afternoon.

  15                    MS. MATTERER:    Mary Matterer on behalf of Mylan.

  16                    I have with me today Robert Florence, sitting at

  17     counsel table, and Karen Carroll from the Parker Poe law

  18     firm.

  19                    THE COURT:    And which defendant?      Which

  20     defendant are you on behalf of?

  21                    MS. MATTERER:    Mylan.

  22                    THE COURT:    Mylan.    Thank you.

  23                    MR. PHILLIPS:    Good afternoon.

  24                    THE COURT:    Good afternoon.

  25                    MR. PHILLIPS:    Jack Phillips, Your Honor, open
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   1     behalf of Apotex, Teva and Roxane.         With me in the courtroom

   2     are Charles Klein and Sam Park of Winston & Strawn.

   3                    MR. KLEIN:    Good afternoon.

   4                    THE COURT:    Good afternoon.

   5                    Thank you.    That's everybody, correct?

   6                    MR. KLEIN:    Yes.

   7                    THE COURT:    Okay.   So we are here for a pretrial

   8     conference for a bench trial scheduled to begin September

   9     19th.

  10                    I saw the stipulation that was filed earlier

  11     today.    I intend to sign that so that narrows some of the

  12     issues.

  13                    I have gone through the pretrial order a couple

  14     times and unless I am mistaken, I found not a single dispute

  15     or disagreement or issue for me to resolve.          So that was a

  16     first for me, a happy first, and I hope not to create

  17     conflict where there may not be any.

  18                    So my agenda is pretty straightforward for this

  19     pretrial conference.      I want to see if there are any issues

  20     that any of you want to raise.        I want to talk about the

  21     number of hours to give you for the trial.          And I want to

  22     talk about whether there is a way that you might be able to

  23     put me in a position to make a decision and get an opinion

  24     out significantly more quickly than I have typically been

  25     able to do, and I have some ideas about that and want to see
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   1     what you all think of them.

   2                    And I'm happy to answer any questions about the

   3     mechanics of how we're going to do the trial, but it's going

   4     to look like pretty much all of my bench trials, and many

   5     of you have had these bench trials in front of me already,

   6     so we'll see if there is anything there to talk about.

   7                    But that makes the first item to see if you have

   8     things that you want to raise with me, first from the

   9     plaintiff.

  10                    MR. DINAPOLI:    Sure, Your Honor.      Dan DiNapoli

  11     for the plaintiffs.

  12                    I believe you are correct that we do not have

  13     any disputes for you today.        You did mention the stipulation

  14     which relates to in large part infringement and a good part

  15     of the pretrial order does relate to infringement, so that

  16     can be ignored.

  17                    THE COURT:    Okay.

  18                    MR. DINAPOLI:    Thank you.

  19                    THE COURT:    Thank you.

  20                    Does Alkem have anything else?

  21                    MS. NOREIKA:    No, Your Honor.

  22                    THE COURT:    No.   All right.

  23                    How about the defendants?

  24                    MR. KLEIN:    Your Honor, no dispute.

  25                    THE COURT:    Okay.   Other defendants, any issues?
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   1                    MR. FLORENCE:    Same, Your Honor.      No dispute.

   2                    THE COURT:    Okay.    I think, is there a third

   3     defendant for the record?       No?

   4                    MR. KLEIN:    That's it.

   5                    THE COURT:    Just the two.    Okay.

   6                    You had asked in terms of hours for I think

   7     16 hours a side.      I think that is quite high, particularly

   8     given the stipulation.

   9                    Is anybody willing to suggest a smaller number

  10     before I throw something out?         Plaintiff?

  11                    MS. NOREIKA:    Your Honor, I'm not sure how we

  12     break out hours.      That always gets me confused.       I understand

  13     it is the easiest way for you to deal about things.            Do you

  14     usually think about six hours a day?

  15                    THE COURT:    Well, typically with a bench trial

  16     we're able to do more like seven.         And however many hours I

  17     give you, I am hoping to cram this into basically three days

  18     at most.    I can start at 8:30.       We could certainly go until

  19     at least 6:00 and, if need be, go a little bit later, but my

  20     goal is to see if we can get this done in three days, even

  21     if they're very long days.

  22                    MS. NOREIKA:    Okay.

  23                    THE COURT:    I don't know if that helps.

  24                    MS. NOREIKA:    I think that helps on the hours

  25     point.
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   1                    We might have some witness availability issues.

   2     We have some medical doctors and as you know, their

   3     schedules get kind of jam packed, so that is not something

   4     that any of us have talked about.         I'm not sure whether we

   5     have issues with that, if we would put three days or however

   6     you want to do that, but I just want to raise that beforehand.

   7                    THE COURT:    All right.    Is there anything

   8     further plaintiff wants to say before I see if defendants

   9     have more to say?

  10                    MR. DINAPOLI:    No, Your Honor.

  11                    THE COURT:    Okay.

  12                    MR. KLEIN:    Your Honor, we may have to check

  13     with witness availability as well if we're condensing to

  14     three days, but we will accommodate your schedule the best

  15     we can.

  16                    THE COURT:    Okay.   Are there any additional

  17     thoughts?

  18                    MR. FLORENCE:    No, Your Honor.     Our thoughts are

  19     the same on that.

  20                    THE COURT:    Okay.   We'll come back to this.

  21                    Let's talk about the briefing and whether you

  22     can help me try to get an opinion out more quickly.

  23                    First off, at least in the pretrial order, you

  24     all wanted a detailed opinion.        Is that still the desire of

  25     the plaintiff?
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   1                    MR. DINAPOLI:    Yes, Your Honor.

   2                    THE COURT:    Okay.   And the defendants?

   3                    MR. KLEIN:    Yes, Your Honor.

   4                    MR. FLORENCE:    (Nodding yes.)

   5                    THE COURT:    You agree; correct?

   6                    MR. FLORENCE:    Yes.

   7                    THE COURT:    Okay.   I would like to, for various

   8     reasons, try to experiment with seeing if we could get this

   9     briefed very quickly, meaning on the order of a month or so

  10     after we're done with the jury portion of the trial.

  11                    One idea I have, and I'll let you react to it,

  12     would be we, whichever three days we do the trial or even if

  13     it drags out over parts of five days, I give you at least a

  14     day to go away and gather your thoughts and then come back

  15     for a closing argument after you have had some time to think

  16     through what you believe you proved at the trial and give

  17     me a chance to reflect on the record and have focussed

  18     questions for you and have you get the findings of fact to

  19     me within something like a week or so after the closing

  20     argument.

  21                    I mean you already have what you intend to be

  22     your proposed findings of fact.        I know you will have your

  23     witness outlines and be trying very carefully to prove what

  24     you think you can prove and you will have made argument to

  25     me about what you think you did prove, and I'm thinking if
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   1     you can get me the proposed findings of fact document with

   2     the citations to the record something like a week after

   3     that, it should still be pretty fresh in my mind and rather

   4     than have to pick it up months later, this might really help

   5     me get at least that sort of set more quickly.

   6                    In the meantime, if I told you that all the

   7     briefing had to be done three-to-four weeks later, something

   8     like that, it would be no surprise to you, and maybe with

   9     all of your brilliant legal writing teams, you could put it

  10     together so that, again, I could have all the legal argument

  11     and everything I need to really get moving on an opinion

  12     before this case falls into the background and behind

  13     hundreds of other cases.

  14                    So that is roughly what I'm thinking.         None

  15     of that is an order at this point but I'd appreciate any

  16     thoughts or reactions you might have.

  17                    Are there any thoughts from the plaintiff's

  18     side?

  19                    MR. DINAPOLI:    No, Your Honor.     We can deal with

  20     that schedule.

  21                    THE COURT:    Okay.   How about from the defense

  22     side?

  23                    MR. KLEIN:    The only initial thought I had is

  24     hopefully we get the transcript with enough time to turn it

  25     around and brief it.
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    1                   THE COURT:    Right.    My impression -- Mr.

    2     Gaffigan could stand and dispute it -- but I think he is

    3     usually pretty quick about getting it to you if you order

    4     it, you know, within a day or so after the proceedings.            So

    5     I don't envision that being a hold up.

    6                   THE COURT REPORTER:      It won't be, Your Honor.

    7                   THE COURT:    The record reflects the court

    8     reporter says that will not be an issue.

    9                   MR. PHILLIPS:     Blame it on the court reporter.

   10                   THE COURT:    Other thoughts or concerns?

   11                   MR. FLORENCE:     No, Your Honor.     I think what you

   12     are proposing is quite doable.

   13                   THE COURT:    Then you will all be my guinea pigs

   14     and we will see if you can make this work, and if it has

   15     benefits for me, as I anticipate it might.

   16                   So here is what we'll do.       I am going to give

   17     you a maximum of 10 hours a side for your evidentiary

   18     presentation.     I'll give you an additional hour for closing

   19     argument, an hour per side.       So that is effectively 11

   20     hours, but if you don't use the full 10 for evidence, that

   21     is gone.

   22                   I'll let you confer on the schedule.         As of now,

   23     I have that whole week free.       I have a desire to cram you

   24     into three days, so I have two days free to do other things,

   25     but if it has to be parts of five days, I'm okay with that.
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    1                   The closing argument could be on the Friday, if

    2     we want to finish the evidence on the Wednesday.

    3                   If we're going to be doing evidence until

    4     Friday, then I would like to bring you back for a couple

    5     hours sometime the following week, and I'm pretty flexible

    6     that week.

    7                   In terms of the briefing and the findings of

    8     fact, I'd like you all to work out a schedule consistent

    9     with what I have outlined, approximately a week for the

   10     findings of fact after closing arguments, and approximately

   11     three weeks after that for all the briefing to be done.

   12                   But with that, I'll let you confer and check in

   13     with your witnesses and give me a specific schedule; and in

   14     light of the holiday, I can wait until Tuesday to hear back

   15     from you.

   16                   Are there any questions or concerns about any of

   17     that from the plaintiff?

   18                   MR. DINAPOLI:     No, Your Honor.

   19                   THE COURT:    All right.

   20                   MS. NOREIKA:     And with the openings, the

   21     openings, sometimes that is part of the hours is the way you

   22     count it?

   23                   THE COURT:    Yes.   I say evidence, but certainly

   24     any time we spent arguing objections as well as your opening

   25     statements comes out of the ten hours.         Thank you for
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    1     clarifying that.

    2                   Are there questions or concerns about any of

    3     that from the defense side?

    4                   MR. KLEIN:    None from me, Your Honor.

    5                   THE COURT:    No?

    6                   MR. FLORENCE:     None, Your Honor.

    7                   THE COURT:    Well everything in the pretrial

    8     order was agreeable to me.        So I've got nothing else.

    9                   Are there questions or anything else we should

   10     talk about while we're all together?

   11                   MR. DINAPOLI:     No, Your Honor.

   12                   THE COURT:    Okay.

   13                   MR. KLEIN:    No, Your Honor.

   14                   THE COURT:    No?

   15                   MR. FLORENCE:     No.

   16                   THE COURT:    Well, thank you.      We will look for

   17     your submission on Tuesday.       Have a nice long weekend.

   18                   We will be in recess.

   19                   (Pretrial conference ends at 2:11 p.m.)

   20            I hereby certify the foregoing is a true and accurate
          transcript from my stenographic notes in the proceeding.
   21

   22                                     /s/ Brian P. Gaffigan
                                         Official Court Reporter
   23                                      U.S. District Court

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